Case 8:12-cr-00587-AW Document 1-1 Filed 14/297f0 PayePbfe ‘s+ Ss

RECEIVED

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
SOUTHERN DIVISION a

  

AFFIDAVIT IN SUPPORT OF ARREST WARRANT
I, Mark Smith, Special Agent with the Diplomatic Security Service (“DSS”), of the
United States Department of State (hereinafter the “affiant”), being duly sworn, depose
and state as follows:
AFFIANT’S BACKGROUND

1. Iam presently employed as a Special Agent with the Diplomatic Security
Service, United States Department of State (hereinafter “State Department”), and am
currently assigned to the Washington Field Office. | have been employed with the State
Department since June 2009. I] have completed criminal investigation training through
the Federal Law Enforcement Training Center at Glynco, Georgia, and the State
Department Diplomatic Security Training Center.

2. As a Diplomatic Security Special Agent, | routinely investigate cases of
fraudulently obtained passports, imposters, fraudulent identity documents, and passport
fraud in the jurisdiction of the Washington Field Office (Virginia, Maryland, District of
Columbia, Delaware, and West Virginia). Based on my knowledge, experience and
training, a common occurrence in passport fraud cases is the presence of false identity
documents to assist in the procurement of United States passports.

3. During my tenure as a federal law enforcement officer in Washington, D.C.,
and the surrounding metropolitan area, | have taken part in numerous federal and local
criminal investigations involving passport fraud, fraud and misuse of visas and passports,

and aggravated identity theft.

Wet
Case 8:12-cr-00587-AW Document 1-1 Filed 11/29/10 Page 2 of 6

4. II respectfully submit this affidavit in support of an application for a warrant to
arrest Amechi ONYEACHOLEM. For the reasons set forth in this affidavit, there is
probable cause to believe that she has committed violations of Title18, United States
Code, Sections 1542 (Passport Fraud) and 1028A(a)(1) (Aggravated Identity Theft).

5. The facts and information contained herein are based upon information and
evidence obtained during the course of this investigation, conveyed to me by other law
enforcement officials, my review of records, documents, interviews with several
witnesses, and my personal knowledge and experience. This affidavit does not contain
every fact uncovered during this investigation, but is designed to establish probable cause

for the issuance of the requested arrest warrant.

STATUTORY AUTHORITY
6. This investigation concerns alleged violations of Title 18, United States Code,

Sections 1542, Passport Fraud, 1542 Fraud and Misuse of visas, permits and other
documents, and 1028A(a)(1), Aggravated Identity Theft. Those statutes provide in
pertinent part:

18 United States Code, Section 1542:

Whoever willfully and knowingly makes any false

statement in an application for passport with intent to

induce or secure the issuance of a passport under the

authority of the United States, either for his own use or the

use of another, contrary to the laws regulating the issuance

of passports or the rules prescribed pursuant to such laws. .

Title 18, United States Code, Section 1028A(a)(1):

(a)(1) In general. -Whoever, during and in relation to any

felony violation enumerated in subsection (c), knowingly
transfers, possesses, or uses, without lawful authority, a

: M/2 Y/70
gH
Case 8:12-cr-00587-AW Document 1-1 Filed 11/29/10 Page 3 of 6

means of identification of another person shall, in addition
to the punishment provided for such felony, be sentenced to
aterm of imprisonment of 2 years.
(c) For purposes of this section, the term “felony violation
enumerated in subsection (c)” means any offense that is a
felony violation of -
(7) any provision contained in chapter 75 (relating to
passports and visas)[.]
SUMMARY
7. This affidavit is made in connection with the investigation by Special Agents
with the DSS of AMECHI ONYEACHOLEM (a/k/also known as Laudeth Battu
Anthony, ) (hereinafter “ON YEACHOLEM”).
THE INVESTIGATION AND PROBABLE CAUSE
8. For the reasons set forth below, there is probable cause to believe that evidence
of passport application fraud and aggravated identity theft will be located at the premises.
9. In June 2010, DSS Special Agent Granville Jeffries received an anonymous
telephone call. The caller stated that the caller knew of a person who had applied for and
received a United States passport using the stolen identity of an American citizen, and the
caller provided an address in Greenbelt, Maryland to which the passport had been mailed.
Special Agent Jeffries ascertained from a law enforcement computer database that the
address provided by the caller was the residence of defendant ONYEACHOLEM.
Further investigations revealed that on December 30, 1998, defendant ON YEACHOLEM
completed a false application for a United States passport in the name of “Laudeth Battu

Anthony” and used the true date of birth, place of birth, and social security number, and

parental information of Laudeth Battu Anthony, with whom defendant

—_=c
3 yfet{1e
gu
Case 8:12-cr-00587-AW Document 1-1 Filed 11/29/10 Page 4 of 6

ONYEACHOLEM had previously resided at an apartment located at 1328 W Street NW
Washington, DC 20009. Defendant ONYEACHOLEM'’s photograph was on the original
passport application form. DSS Special Agents confirmed that as a result of this
application Passport Number 015823203, with an issuance date of January 7, 1999, was
issued in the name of Laudeth Battu Anthony.

10. Additional investigations by DSS Special Agents confirmed that a passport
renewal application dated September 10, 2009, had been mailed to the National Passport
Processing Center in Philadelphia, Pennsylvania, that defendant ONYEACHOLEM’s
photograph was on that renewal application, and that, based upon the application, United
States Passport #461004589 bearing defendant ONYEACHOLEM’s photograph was
issued in the name of Laudeth Battu Anthony and mailed to 6158 Springhill Terrace
Greenbelt, MD 20770.

11. DSS Special Agents subsequently interviewed Laudeth Battu Anthony, and
learned that defendant ONYEACHOLEM had lived with her for almost one year between
1998 and 1999. While living together, defendant ONYEACHOLEM had access to her
personal identification documents and other information relating to the her and her
family.

12. The investigation has established that on or about September 6, 2010,
defendant ONYEACHOLEM left the United States and flew to Nigeria via a series of
flights originating at Baltimore-Washington International Airport, and that she has not yet
returned to the United States.

13. On November 17, 2010, DSS Special Agent Mark Smith spoke with Witness

One, the father of defendant ONYEACHOLEM’S two minor children, after a child

om
uf Z 70
Yr
Case 8:12-cr-00587-AW Document 1-1 Filed 11/29/10 Page 5 of 6

support hearing in Prince George’s County Circuit Court, Prince George’s County,
Maryland. According to Witness One, on November 16, 2010, a woman who Witness
One knows personally to be defendant ONYEACHOLEM'’s current roommate called and
stated that she recently saw three passports inside the apartment that she shares with
defendant OYEACHOLEM. The roommate further advised that two of the passports
were for the children and one had the first name of either “Lynette” or “Laudeth” and the
last name “Anthony” and bore defendant ONYEACHOLEM'’s photograph. I believe this
to be the original expired passport, which would have been returned to defendant
ONYEACHOLEM after the renewal application was processed and completed. The
roommate also told Witness One that there were three social security cards in the
apartment. According to Witness One, eviction proceedings may be pending against
defendant ONYEACHOLEM.

14. According to Witness One, defendant ONYEACHOLEM left a voice mail
message on Witness One’s telephone, stating that she would be returning to the United
States on November 20, 2010, but she has not returned to the United States as of
November 24, 2010.

15. On or about October 1, 2010, DSS agents received confirmation from
Southern Management Corporation, the management company for the apartment complex
Fountain Club, located at 7600 Fontainebleau Drive, New Carrollton, Maryland, that
defendant ONYEACHOLEM is the lessee of, and currently resides at, 7600
Fontainebleau Drive, apartment 503, New Carrollton, Maryland, and has resided there
since October 2009. Witness One has stated that he personally knows this to be the
residence of defendant ONYEACHOLEM and the roommate.

ule 16
mf
Case 8:12-cr-00587-AW Document 1-1 Filed 11/29/10 Page 6 of 6

16. On November 24, 2010, DSS agents conducted a search of that apartment
based on a search warrant signed by this Court the same day. Although there was indicia
of occupancy present, e.g., food in the refrigerator, clothing & furniture, no occupants
were present and no passports were recovered. However, identity documents for Amechi
ONYEACHOLEM and various documents bearing the name of victim Laudeth B.
Anthony, to include partially completed passport applications, were recovered from the
apartment. Ms. Anthony lives in the District of Columbia and confirmed to this affiant
that she has had no contact with ONYEACHOLEM since they were roommates in the
late 1990s.

19. Based upon the foregoing, your affiant asserts that probable cause exits to

believe Amechi ONYEACHOLEM has violated 18 U.S.C. § 1542 and 18 U.S.C. §

Mark Smji

Special Agent

Diplomatic Security Service
United States Department of State

1028A.

Subscribed and sworn before me this 2*{* day of November, 2010.

WS 88 ee Cie tk
William Connelly :
United States Magistrate Judge
